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                             UNITED STATES DISTRICT COURT
                               DISTRICT OF CONNECTICUT




  UC FUNDING I, LP, TRUSTEE,
  and UCF I TRUST 1,
        Plaintiffs,                                          No. 3:17-cv-1325 (VAB)

          v.

  BERKOWITZ, TRAGER & TRAGER, LLC,
      Defendant.



                             RULING ON MOTION TO DISMISS

       UCF I Trust 1 (“UCFT”) and UC Funding I, L.P., Trustee (“UCF Trust”) (together,

“Plaintiffs”) filed a Complaint against Berkowitz, Trager & Trager, LLC (“Berkowitz” or

“Defendant”), alleging breach of contract, breach of the implied covenant of good faith and fair

dealing, and negligent misrepresentation, based on an opinion letter authored by Berkowitz that

allegedly induced Plaintiffs to enter into a contract that eventually resulted in a loss of

approximately $13,000,000. Compl. ¶¶ 12, 25, ECF No. 1.

       Berkowitz has moved to dismiss the Complaint, arguing that Plaintiffs’ claims, for breach

of contract, breach of the implied covenant of good faith and fair dealing, and negligent

misrepresentation, all fail as a matter of law. Mot. Dismiss, ECF No. 14.

       For the reasons discussed below, Defendant’s motion to dismiss is GRANTED.

       Plaintiffs may serve an Amended Complaint within thirty (30) days of this Order, to the

extent they are able to address the deficiencies in the dismissed claims.




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I.     FACTUAL AND PROCEDURAL BACKGROUND

       UCFT, a Delaware statutory trust1 with its principal place of business in Boston,

Massachusetts, makes secured mezzanine loans.2 Compl. ¶¶ 3–4. UCF Trust, a limited

partnership with a principal place of business in Dover, Delaware, is the trustee of UCFT. Id. ¶ 5.

Berkowitz, a Connecticut limited liability company, has its principal place of business in

Westport, Connecticut. Id. ¶ 6.

       A.      Factual Allegations

       On November 1, 2012, UCFT allegedly loaned $12 million to Park Square West Member

Associates (“the borrower”) in the form of a mezzanine loan. Compl. ¶ 8. In connection with that

loan, UCFT and the borrower entered into a loan agreement. Id. ¶ 9. Under that agreement, the

borrower would be the 100% owner of Park Square West Member Associates, LLC (“the Park

Square West LLC”), and the Park Square West LLC would own the commercial property known

as Park Square West, located in Stamford, Connecticut, in fee simple. Id. ¶ 11. In addition,




1
  A statutory or business trust is “a form of business organization, a substitute for incorporation”
that may act as a “device for profit making through the combination of capital contributed by a
number of investors.” Myron Kove et al., Bogert’s Trust § 247. “In general terms, business or
statutory trust[s] are used ‘to denote an unincorporated organization created for profit under a
written instrument or declaration of trust, the management to be conducted by compensated
trustees for the benefit of persons whose legal interests are represented by transferable
certificates of participation, or shares.’” Cooper v. Trustees of College of Holy Cross, 13-cv-
8064 (KPF), 2014 WL 2738545, at *6 (S.D.N.Y. 2014) (quoting Myron Kove et al., Bogert’s
Trust § 247). In other words, the organization is not incorporated, and the Trustees are
compensated. Id. (finding that Holy Cross was not a “business or statutory trust because the
College has been incorporated and the Trustees are not compensated”).
2
  In general terms, “[a] mortgage/mezzanine loan structure is a multiple loan structure in which a
lender grants a mortgage loan to the owner of a property, and the same lender or a separate
lender grants a mezzanine loan to the owner of the direct (or indirect) equity interests in the
property owner.” Mortgage and Asset Backed Securities Litigation Handbook § 8:35 (2017).



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UCFT and the borrower entered into a Guaranty of Payment in favor of UCFT (“the guaranty”),

secured by a pledge agreement and security agreement (“the pledge agreement”). Id. at 12.

        Under the pledge agreement, the Park Square West LLC allegedly represented that it was

the sole member of and owned 100% of the interest in Park Square West Member Associates. Id.

¶ 13. The Park Square West LLC’s ownership interest in Park Square West Member Associates

allegedly served as the collateral for the loan made by UCFT. Id. ¶ 14.

       Plaintiffs allege that Berkowitz acted as counsel to various entities connected with the

Park Square West Entities.3 Id. ¶ 15. Plaintiffs allege that Berkowitz “issued an opinion letter

addressed to UCFT concerning the PSW Mezzanine Loan, Guaranty, Pledge Agreement and the

additional agreements memorializing the loan transaction set forth therein.” Id. ¶ 16. Plaintiffs

allege that in the letter, Berkowitz opined:

               2.      “Each of Borrower, Pledgor, and Subordinated Lender has
               all requisite limited liability company power and authority to
               execute and deliver the Loan Documents to which it is a party and
               to perform its obligations thereunder.

               3.      “The execution and delivery by Borrower, Pledgor, and
               Subordinated Lender of the Loan Documents to which each is a
               party, and the performance by Borrower, Pledgor, and Subordinated
               Lender of their respective obligations thereunder, have been duly
               authorized by all necessary limited liability company action on the

3
  The opinion letter states: “We [Berkowitz] have acted as counsel to Park Square West Member
Associates, LLC, a Connecticut limited liability company (‘Borrower’) in connection with the
loan by UCF I Trust 1, a Delaware statutory trust (‘Lender’), to Borrower in the principal amount
of $12,000,000.00 (the ‘Loan’). We have also acted as counsel to Park Square West Associates,
LLC, a Delaware limited liability company (‘Associates’); PSWMA I, LLC, a Connecticut
limited liability company (‘Pledgor’); PSWMA II, LLC, a Connecticut limited liability company
(‘Subordinated Debtor’); Seaboard Realty, LLC, a Connecticut limited liability company
(‘Subordinated Lender’), and John J. DiMenna, Jr., an individual (‘Guarantor’).” Opinion Letter
at 1, Mot. Dismiss Ex. A, ECF. No. 16-1. The letter also states that Berkowitz “examined and
relied upon originals or copies, certified or otherwise identified to our satisfaction, of such
agreements, documents, certificates, statements of government officials, statements from
representatives of Borrower, Associates, Pledgor, Subordinated Debtor, and Subordinated
Lender, and from Guarantor, and such other documents as we have deemed necessary as a basis
for our opinion . . . .” Id.


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               part of Borrower, Pledgor, and Subordinated Lender, as the case
               may be.”

               4.      The Loan Documents to which each of Borrower, Pledgor,
               and Subordinated Lender is a party, have been duly executed and
               delivered by Borrower, Pledgor, and Subordinated Lender
               respectively, and constitute the valid and binding obligations of
               Borrower, Pledgor, and Subordinated Lender, enforceable against
               Borrower, Pledgor, and Subordinated Lender in accordance with
               their respective terms.

               6.      Neither the execution and delivery by Borrower, Pledgor,
               Guarantor, and Subordinated Lender of the respective Loan
               Documents to which each is a party, nor Borrower’s, Pledgor’s,
               Guarantor’s, or Subordinated Lender’s respective performances
               thereunder (a) to the best of our knowledge, will result in the
               creation or imposition of a lien, charge, or encumbrance upon any
               of the property or assets of Borrower, Pledgor, Guarantor, or
               Subordinated Lender other than the liens contemplated by the Loan
               Documents, (b) violates any federal or Connecticut law or regulation
               applicable to Borrower, Pledgor, Guarantor or Subordinated Lender
               or, to the best of our knowledge, any judgment, order, writ,
               injunction or decree binding on Borrower, Pledgor, Guarantor, or
               Subordinated lender or (c) violates the terms or provisions of the
               Articles of Organization or the Limited Liability Company
               Operating Agreement of Borrower, Pledgor, or Subordinated
               Lender.”

Id. ¶ 17 (quoting “Opinion Letter Representations”).

       Plaintiffs allege that, after the mezzanine loan was funded, and following a default by the

borrower, Plaintiffs discovered that the Park Square West LLC did not own a 100% interest in

the borrower. Id. ¶ 18. Plaintiffs allege that the Park Square West LLC “appears to have owned

nothing at the time it made the Pledge in favor of UCFT to secure the PSW Mezzanine Loan,”

and that the borrower was allegedly “owned 25% by Seaboard Realty, LLC and 75% by various

other individuals and entities.” Id. ¶ 19. Plaintiffs allege that UCFT relied on Berkowitz’s

opinion letter when they agreed to the mezzanine loan, and that “UCFT’s reliance was expressly

contemplated by Berkowitz as the Opinion Letter states that ‘This opinion is rendered to you and

is for your benefit in connection with the above transaction.’” Id. ¶ 21.


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       Plaintiffs allege that, in December 2015, Seaboard Realty, LLC, and its affiliate entities,

including the Park Square West LLC, the borrower, filed for Chapter 11 bankruptcy in the

United States Bankruptcy Court for the District of Delaware. Id. ¶ 22 (citing In re Newbury

Common Associates, LLC, Case No. 15-12507). Plaintiffs allege that “[t]hrough the bankruptcy

case, the real estate owned by Park Square West Associates, LLC controlled Seaboard Realty

LLC, was sold and purchased by an affiliate of UCFT for approximately $43 million.” Id. ¶ 23.

Plaintiffs also allege that because the Park Square West LLC did not own 100%, “UCFT’s

security interest did not attach to the 100% interest in PSW Mezzanine Borrower,” and as a

result, Plaintiffs lost more than $13,000,000. Id. ¶¶ 24–25.

       B.       Procedural History

       UCFT filed a Complaint in this Court on August 4, 2017, claiming breach of contract,

breach of the covenant of good faith and fair dealing, and negligent misrepresentation against

Berkowitz. See generally Compl.

       On September 25, 2017, Berkowitz moved to dismiss, claiming that UCFT had failed to

state a claim upon which relief can be granted because (1) UCFT was not Berkowitz’s client; (2)

a third party beneficiary of a written contract cannot recover for a breach of the implied covenant

of good faith and fair dealing; and (3) UCFT’s claim for negligent misrepresentation is barred by

the statute of limitations. Mot. Dismiss at 1–2, ECF No. 14. Berkowitz argues that it “did not

represent UCF, and in fact was adverse to UCF in its role representing Park Square West

Member Associates, LLC as borrower and [Berkowitz’s] other clients in connection with this

transaction.” Mot. Dismiss at 2. Berkowitz therefore claims that UCF cannot bring a claim based

in contract related to Berkowitz’s attorney-client relationship with the Park Square West Entities,




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and any claim based in tort must fail because the applicable three-year statute of limitations has

passed. Id. at 2, 6, 8, 15, 17.

        Plaintiffs opposed the motion to dismiss. ECF No. 16. Plaintiffs argued that Berkowitz

wrote an “opinion letter addressed to UCF concerning the PSW Mezzanine Loan, Guaranty,

Pledge Agreement and the additional agreements memorializing the loan transaction set forth

therein,” which was allegedly “directed to UCF,” after Berkowitz had allegedly “examined

certain specific documents” and other documents Berkowitz had deemed necessary for its

opinion. Opp. to Mot. Dismiss at 3. Moreover, Plaintiffs asserted, the “opinion was rendered for

UCF’s benefit and could be relied upon by UCF.” Id. (citing Compl. at ¶¶ 20, 21, 27–30).

        Plaintiffs explained that they “thereafter learned [that Berkowitz] was counsel to a

company engaged in a Ponzi scheme.” Id. As a result of the scheme, it was allegedly only after

UCF funded the mezzanine loan and following a subsequent default by the borrower that “UCF

learned that PSWMA I, LLC did not own a 100% interest in PSW Mezzanine Borrower.” Id.

(emphasis in original). Plaintiffs explain that in fact, “PSW Mezzanine Borrower was owned

25% by Seaboard Realty, LLC and 75% by various other individuals and entities.” Id.

        Plaintiffs argued that Berkowitz is liable to them for issuing a faulty opinion letter, which

did not constitute advice to the PSW Entities, but rather to Plaintiffs. Id. at 5 (citing Terremar,

Inc. v. Ginsburg & Ginsberg et al., 1991 WL 57815, at *4 (Conn. Super. Ct. Apr. 5, 1991)).

Plaintiffs argued that they were the intended third-party beneficiary of a contract between the

PSW Entities and Berkowitz, and as a result, despite the absence of an attorney-client

relationship between Berkowitz and Plaintiffs, Plaintiffs have a claim of breach of contract, as

well as one for a breach of the covenant of good faith and fair dealing. Id. at 6–10.




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        Plaintiffs also argued that their negligent misrepresentation claim should not be barred by

the statute of limitations because “PSW Entities did not file bankruptcy until December 2015,”

and the statute of limitations does not begin to run until “‘two years from the discovery of the

misrepresentation[.]’” Id. at 11 (quoting Lopez v. Travelers Companies, Inc., 2016 WL

2890477, at *3 (Conn. Super. Ct. Apr. 26, 2016) (emphasis added in Plaintiffs’ brief)). Plaintiffs

argue, in other words, that because Berkowitz was “counsel to a fraudulent enterprise,” including

because Berkowitz “long represented John DiMenna Jr. and the PSW Entities, perpetrators of a

Ponzi scheme,” the Court should permit Plaintiffs to conduct discovery to determine whether any

equitable doctrines apply to toll the statute of limitations on their claim. Id. at 12 (arguing that

the Court should decline to address the statute of limitations issue to allow Plaintiffs to develop

facts related to potential fraudulent concealment).

II.     STANDARD OF REVIEW

        A complaint must contain a “short and plain statement of the claim showing that the

pleader is entitled to relief,” Fed. R. Civ. P. 8(a), and the court will dismiss any claim that fails

“to state a claim upon which relief can be granted,” Fed. R. Civ. P. 12(b)(6). In reviewing a

complaint under Rule 12(b)(6), the court applies a “plausibility standard” guided by “two

working principles.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009).

        First, “[t]hreadbare recitals of the elements of a cause of action, supported by mere

conclusory statements, do not suffice.” Id.; see also Bell Atl. Corp. v. Twombly, 550 U.S. 544,

555 (2007) (“While a complaint attacked by a Rule 12(b)(6) motion to dismiss does not need

detailed factual allegations . . . a plaintiff’s obligation to provide the ‘grounds’ of his

‘entitle[ment] to relief’ requires more than labels and conclusions, and a formulaic recitation of

the elements of a cause of action will not do.” (internal citations omitted)). Second, “only a

complaint that states a plausible claim for relief survives a motion to dismiss.” Iqbal, 556 U.S. at


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679. Thus, the complaint must contain “factual amplification . . . to render a claim plausible.”

Arista Records LLC v. Doe 3, 604 F.3d 110, 120 (2d Cir. 2010) (quoting Turkmen v. Ashcroft,

589 F.3d 542, 546 (2d Cir. 2009)).

       At this stage, the court takes all factual allegations in the complaint as true. Iqbal, 556

U.S. at 678. The court also views allegations in the light most favorable to the plaintiff, and

draws all inferences in the plaintiff’s favor. Cohen v. S.A.C. Trading Corp., 711 F.3d 353, 359

(2d Cir. 2013); see also York v. Ass’n of the Bar of the City of New York, 286 F.3d 122, 125 (2d

Cir.) (“On a motion to dismiss for failure to state a claim, we construe the complaint in the light

most favorable to the plaintiff, accepting the complaint’s allegations as true.”), cert. denied, 537

U.S. 1089 (2002).

III.   DISCUSSION

       The Court addresses each of Plaintiffs’ claims, breach of contract, breach of the

covenant of good faith and fair dealing, and negligent misrepresentation, in turn.

       A.      The Breach of Contract Claim

       Plaintiffs allege that Berkowitz represented the Park Square West Entities in the loan

transaction, and that “[a]s part of its promised performance, Berkowitz was required to prepare

the Opinion Letter and provide accurate and verified information concerning the [Park Square

West] Entities and the matters set forth therein, to be relied upon by UCFT in making the PSW

Mezzanine Loan.” Id. ¶¶ 27–28. UCFT also alleges that it was an “intended beneficiary of the

contract between Berkowitz and the PSW Entities and thus has a right to enforcement thereof.”

Id. ¶ 29. Plaintiffs allege that “Berkowitz breached its contractual obligations as the Opinion

Letter contained inaccurate information concerning the ownership of PSW Mezzanine Borrower

and enforceability of the Pledge and Guaranty.” Id. ¶ 30.




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       Berkowitz moves to dismiss, arguing that “[t]he breach of contract claim alleged in Count

One fails to state a claim upon which relief may be granted because (1) as a non-client, UCF

cannot maintain a cause of action for the breach of an agreement to provide legal services to

which it was not a party and which it has not identified; and (2) the allegation in Count One is

not premised on any facts, outside of negligence, that disclose the breach of a contractual duty

that [Berkowitz] owed to UCF.” Mot. Dismiss at 6. Berkowitz argues that “in the limited

circumstances where Connecticut courts have held a claim for breach of contract for legal

services exists, the claim has been asserted by a client, not a third party.” Id. at 7–8. Here,

Berkowitz argues, “[a]ny contract between [Berkowitz] and the PSW Entities concerns the legal

services that [Berkowitz] was to perform for the PSW Entities.” Id. at 8.

       Under Connecticut law, a plaintiff may assert a claim against an attorney for negligence

or for contract. Caffery v. Stillman, 79 Conn. App. 192, 197 (2003) (citing Mac’s Car City, Inc.

v. DeNigris, 18 Conn. App. 525, 529–30, cert. denied, 212 Conn. 807 (1989)). The statute of

limitations for a negligence claim is three years, Conn. Gen. Stat. § 52-577, and the statute of

limitations for a contract claim is six years, Conn. Gen. Stat. § 52-576(a).

       “As a general rule, attorneys are not liable to persons other than their clients for the

negligent rendering of services.” Krawczyk v. Stingle, 208 Conn. 239, 244 (1988). There is an

exception, however, when a third-party beneficiary to a contract can show that the defendant had

a direct obligation to the third party. See Stowe v. Smith, 184 Conn. 194, 196–97 (1981) (“[A]

third party seeking to enforce a contract must allege and prove that the contracting parties

intended that the promisor should assume a direct obligation to the third party.”) (citing Byram

Lumber & Supply Co. v. Page, 109 Conn. 256, 259 (1929)). To determine whether the

contracting parties intended for the promisor to assume a direct obligation to a third party,




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“[c]ommentators generally look upon the intent of the promise, if the promise had any relevant

intent, as governing whether a third party may enforce a contract as a done beneficiary.” Id. at

197 n.1 (citations omitted).

        Plaintiffs argue that a breach of contract claim exists because “(1) the Opinion Letter was

a requirement of the Transaction, (2) without the Opinion Letter UCF would not have engaged in

the Transaction, (3) [Berkowitz] rendered the Opinion Letter for the benefit of UCF, (4) the PSW

Entitles and [Berkowitz] both intended for UCF to rely on the Opinion Letter as part of the

Transaction, and (5) [Berkowitz] did not do what it contracted to do as set forth in the Opinion

Letter.” Opp. to Mot. Dismiss at 6. Plaintiffs also argue that Berkowitz wrote the Opinion Letter

so that Plaintiffs would rely on it in entering into the mezzanine loan agreement, and that “there

was no possibility of the issuance of the Opinion Letter affecting [Berkowitz’s] attorney-client

relationship” with the Park Square West Entities. Id. at 7 (citing Compl. ¶ 21).

        Berkowitz responds that the opinion letter is not a contract, and that Plaintiffs therefore

cannot claim to be third-party beneficiaries of it. Def.’s Reply at 2, ECF No. 22. Plaintiffs admit

that there was no attorney-client relationship between Plaintiffs and Berkowitz, and claim instead

that the parties had a contractual relationship based on the Opinion Letter. Opp. to Mot. Dismiss

at 8.

        As a preliminary matter, there is a threshold question of whether Plaintiffs have a viable

breach of contract claim at all or, at best, only a tort claim for negligent misrepresentation.

“Connecticut courts have concluded that claims alleging that the defendant attorney had

performed the required tasks but in a deficient manner sounded in tort rather than in contract.”

Meyers v. Livingston, Adler, Pulda, Mieklejohn and Kelly, P.C., 311 Conn. 282, 294 (2014).

Plaintiffs’ breach of contract claim is based solely on Berkowitz’s failure to provide accurate




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information in the Opinion Letter, allegations sounding in tort rather than in breach of contract.

See id. at 298 (“In addition to the fact that the complaint contains no allegations that the

defendant breached any specific contract provision, it relies in part on language typically used in

negligence cases.”).

       In any event, the Court agrees that the Opinion Letter is not a contract. See Connecticut

Nat. Bank v. Voog, 233 Conn. 352, 366 (1995) (“To be enforceable, a contract must be supported

by valuable consideration.”); Martin Printing, Inc. v. Sone, 89 Conn. App. 336, 344 (2005) (“A

promise to be surety for the performance of a contractual obligation, made to the obligee, is

binding if (a) the promise is in writing and signed by the promisor and recites a purported

consideration; or . . . (c) the promisor should reasonably expect the promise to induce action or

forbearance of a substantial character on the part of the promisee or a third person, and the

promise does induce such action or forbearance.”) (quoting 1 Restatement (Second), Contracts §

88 (1981)). Indeed, Plaintiffs do not allege that the Opinion Letter represented a bargained-for

exchange with consideration between Plaintiffs and any party.

       The Court also agrees that Plaintiffs do not have a claim as a third-party beneficiary of

any contract between Berkowitz and the Park Square West Entities. See Def.’s Reply at 3.

Plaintiffs rely on Stowe v. Smith, where the Connecticut Supreme Court considered whether a

plaintiff who was the intended beneficiary of a will had standing to sue an attorney who made a

mistake in drafting the will. 184 Conn. at 195.

       In Stowe, however, the complaint alleged that the “defendant assumed a relationship not

only with the testatrix but also with the intended beneficiaries” because “[i]f the defendant

thwarted the wishes of the testatrix, an intended beneficiary would also suffer an injury in that

after the death of the testatrix the failure of her testamentary scheme would deprive the




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beneficiary of an intended bequest.” Id. at 198. The court therefore found that “the benefit which

the plaintiff would have received under a will prepared in accordance with the contract is so

directly and closely connected with the benefit which the defendant promised to the testatrix that

under the allegations of the complaint the plaintiff would be able to enforce the contract.” Id.

       This case does not involve a will. See Litvack v. Artusio, 137 Conn. App. 397, 405 (2012)

(“Although the intended beneficiary of a will may have a cause of action for the improper

preparation of a testamentary document . . . the plaintiff has cited no authority for imposing such

liability on attorneys who entered into a retainer for ordinary legal services.”) (citing Stowe, 184

Conn. at 198–99); see also Continental Cas. Co. v. Pullman, Comley, Bradley & Reeves, 709 F.

Supp. 44, 47 n.4 (D. Conn. 1989) (“Stowe embodies a narrow exception—essentially limited to

wills only—to the rule that an attorney has no duty to a third party.”). Although Stowe

demonstrates that there may be circumstances when a third-party can bring a legal malpractice

claim against an attorney, “[a] central dimension of the attorney-client relationship is the

attorney’s duty of entire devotion to the interest of the client.” Krawczyk, 208 Conn. at 246

(internal quotation marks and citation omitted). The Connecticut Supreme Court thus has noted

the “serious potential for conflicts of interest inherent” in situations that require an attorney to

consider the duty of undivided loyalty to the client, but also to a third-party beneficiary. Id. at

246–47.

       Here, Plaintiffs have not alleged that Plaintiffs were the intended beneficiaries of the

attorney-client relationship between Berkowitz and the Park Square West Entities. In fact, the

Opinion Letter specifically states that Berkowitz served as counsel to the Park Square West

Entities, “in connection with the loan by UCF I Trust 1,” referencing Plaintiffs merely as the

lender of the mezzanine loan—not as an intended beneficiary as in Stowe. See Opinion Letter at




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1, Mot. Dismiss Ex. A, ECF. No. 16-1 (“We [Berkowitz] have acted as counsel to Park Square

West Member Associates, LLC, a Connecticut limited liability company (‘Borrower’) in

connection with the loan by UCF I Trust 1, a Delaware statutory trust (‘Lender’), to Borrower in

the principal amount of $12,000,000.00 (the ‘Loan’). We have also acted as counsel to Park

Square West Associates, LLC, a Delaware limited liability company (‘Associates’); PSWMA I,

LLC, a Connecticut limited liability company (‘Pledgor’); PSWMA II, LLC, a Connecticut

limited liability company (‘Subordinated Debtor’); Seabord Realty, LLC, a Connecticut limited

liability company (‘Subordinated Lender’), and John J. DiMenna, Jr., an individual

(‘Guarantor’).”).

       In the absence of any express language in the Opinion Letter imposing a contractual

obligation on Berkowitz to provide legal services for Plaintiffs, Connecticut law presumes that

adverse parties in financial transactions are represented by their own counsel and not by the

counsel of their adversaries. See Krawczyk, 208 Conn. at 246 (“Courts have refrained from

imposing liability when such liability had the potential of interfering with the ethical obligations

owed by an attorney to his or her client.”) (citations omitted).

       While Plaintiffs argue that their reliance on the Opinion Letter would not affect

Berkowitz’s attorney-client relationship with the Park Square West Entities, see Opp. To Mot.

Dismiss at 7, a lack of interference with the attorney-client relationship is not the applicable

standard. The Connecticut Supreme Court in Krawczyk precluded the imposition of liability to

third parties that “would not comport with a lawyer’s duty of undivided loyalty to the client.”

208 Conn. at 246. In a commercial transaction, a lawyer cannot have “undivided loyalty” to her

client and also have a legal obligation to the party adverse to her client in the transaction without

express language indicating otherwise. See CT Rules of Professional Conduct 1.7(a) (“Except as




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provided in subsection (b), a lawyer shall not represent a client if the representation involves a

concurrent conflict of interest. A concurrent conflict of interest exists if: (1) the representation of

one client will be directly adverse to another client[.]”); CT Rules of Professional Conduct 1.2(a)

(“[A] lawyer shall abide by a client’s decisions concerning the objectives of representation and . .

. shall consult with the client as to the means by which they are to be pursued . . . .”); see also

Meyers, 311 Conn. at 301 (finding that allegations “that the defendant breached its duty of

undivided loyalty and its duty to follow [the client’s] wishes and instructions in its prosecution

and settlement of the prior lawsuit are consistent with a claim of legal malpractice that relies on

violations of rules 1.7(a) and 1.2(a) of the Rules of Professional conduct as evidence of a breach

of the applicable standard of conduct”).

       Because Plaintiffs are neither a party to a contract with Berkowitz nor the intended third-

party beneficiary of a contract between the Park Square West Entities and Berkowitz, Count

One, their breach of contract claim against Berkowitz, must be dismissed.

       B.      The Breach of the Covenant of Good Faith and Fair Dealing Claim

       Plaintiffs also argue that Berkowitz breached the covenant of good faith and fair dealing,

and that Plaintiffs suffered money damages as a result. Compl. ¶¶ 33–35. The Court disagrees.

       “It is axiomatic that the implied duty of good faith and fair dealing is a covenant implied

into a contract or a contractual relationship.” Hoskins v. Titan Value Equities Group, Inc., 252

Conn. 789, 793 (2000). A contract or a contractual relationship, therefore, is required to state a

claim based on the covenant of good faith and fair dealing. Id. (“[T]he existence of a contract

between the parties is a necessary antecedent to any claim of breach of the duty of good faith and

fair dealing.”); see also Chapman v. Priceline Grp., Inc., 2017 WL 4366716, at *5 (D. Conn.

2017) (“‘Most courts decline to find a breach of the covenant apart from a breach of an express




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contract term.’ . . . In other words, ‘the claim [that the covenant has been breached] must be tied

to an alleged breach of a specific contract term, often one that allows for discretion on the part of

the party alleged to have violated the duty.’”) (quoting Landry v. Spitz, 102 Conn. App. 34, 47

(2007)).

          Here, for the same reasons that Plaintiffs lack a viable breach of contract claim, they also

lack a viable claim based on the covenant of good faith and fair dealing. Count Two of the

Complaint therefore must be dismissed.

          C.     The Negligent Misrepresentation Claim

          Finally, Plaintiffs allege that Berkowitz “failed to exercise reasonable care in

communicating information related [to] the ownership of PSW Mezzanine Borrower to UCFT”

and therefore assert that Berkowitz is liable for negligent misrepresentation. Compl. ¶ 39.

Defendants argue that this tort claim is barred by the three-year statute of limitations under Conn.

Gen. Stat. § 52-577. Mot. Dismiss at 17–18. Even if Plaintiffs’ claims were within the statute of

limitations, Plaintiffs have not sufficiently alleged that they reasonably relied on Berkowitz’s

advice.

          To establish a negligent misrepresentation claim in Connecticut, the plaintiff must allege

that “[o]ne who, in the course of his business, profession or employment . . . supplies false

information for the guidance of others in their business transactions, is subject to liability for

pecuniary loss caused to them by their justifiable reliance upon the information, if he fails to

exercise reasonable care or competence in obtaining or communicating the information.”

D’Ulisse-Cupo v. Bd. of Directors of Notre Dame High Sch., 202 Conn. 206, 218 (1987)

(quoting Restatement (Second) of Torts § 552 (1979)); see also Williams Ford, Inc. v. Hartford

Courant Co., 232 Conn. 559, 575 (1995) (“We have held that even an innocent misrepresentation




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of fact may be actionable if the declarant has the means of knowing, ought to know, or has the

duty of knowing the truth.”) (citing Richard v. A. Waldman & Sons, Inc., 155 Conn. 343, 346

(1967)).

        The Connecticut Supreme Court has explained that “no special relationship is required to

state a claim of negligent misrepresentation[.]” Williams Ford, Inc., 232 Conn. at 579

(considering whether newspaper could be held liable for negligently misrepresenting advertising

information to automobile dealership groups); see also Stuart v. Frieberg, 316 Conn. 809, 842–

43 (2015) (quoting Williams Ford, Inc., 232 Conn. at 579–80). “[R]easonableness of reliance is a

question for the trier of fact.” Stuart, 316 Conn. at 842–43 (citing Coppola Construction Co. v.

Hoffman Enterprises Ltd. Partnership, 309 Conn. 342, 352 n.6 (2013)).

        Plaintiffs, however, have not sufficiently alleged that it was reasonable for them to rely

on the advice of Berkowitz, counsel of an adverse party in a financial transaction. See Krawczyk,

208 Conn. at 244 (“As a general rule, attorneys are not liable to persons other than their clients

for the negligent rendering of services.”); see also Twombly, 550 U.S. at 555 (“While a

complaint attacked by a Rule 12(b)(6) motion to dismiss does not need detailed factual

allegations . . . a plaintiff’s obligation to provide the ‘grounds’ of his ‘entitlement to relief’

requires more than labels and conclusions . . . . Factual allegations must be enough to raise a

right to relief above the speculative level[.]”) (citation and alteration omitted). Plaintiffs’

conclusory allegations in support of the claim of negligent misrepresentation thus fail to cross

“the line between possibility and plausibility of entitlement to relief.” See Iqbal, 556 U.S. at 696)

(quoting Twombly, 550 U.S. at 557) (internal quotation marks omitted). 4



4
  In response to the motion to dismiss, Plaintiffs acknowledge that they are aware of information
that would establish that Berkowitz “was counsel to a company engaged in a Ponzi scheme,” and



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       Count Three of Plaintiffs’ Complaint therefore must be dismissed. 5

IV.    CONCLUSION

       For all of the foregoing reasons, Defendant’s Motion to Dismiss is GRANTED.

       Plaintiffs may serve an Amended Complaint within thirty (30) days of this Order, to the

extent they are able to address the deficiencies in the dismissed claims.

       SO ORDERED at Bridgeport, Connecticut, this 1st day of May, 2018.

                                                       /s/ Victor A. Bolden
                                                       VICTOR A. BOLDEN
                                                       UNITED STATES DISTRICT JUDGE




that Berkowitz’s advice misled Plaintiffs as a result of that fraud. See, e.g., Opp. to Mot. Dismiss
at 3 (explaining that PSWMA I, LLC did not own the interest in PSW Mezzanine Borrower that
it claimed to own, and that PSW Mezzanine Borrower was owned 25% by Seabord Realty, LLC
and 75% by various other entities). These claims, suggesting fraud rather than simply negligent
misrepresentation, would have to be plead with even more specificity under Rule 9(b) of the
Federal Rules of Civil Procedure. See Shields v. Citytrust Bancorp, Inc., 25 F.3d 1124, 1128 (2d
Cir. 1994) (“The requisite ‘strong inference’ of fraud may be established either (a) by alleging
facts to show that defendants had both motive and opportunity to commit fraud, or (b) by
alleging facts that constitute strong circumstantial evidence of conscious misbehavior or
recklessness.”).
5
 Because the Court has granted the motion to dismiss under Rule 12(b)(6), the Court will not
address the argument that Plaintiffs’ claim falls outside of the statute of limitations, but the Court
will address that claim if necessary if Plaintiffs file an amended complaint that asserts a
negligent misrepresentation claim.


                                                 17
